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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )              8:02CR164
                      Plaintiff,                  )
                                                  )
         vs.                                      )               ORDER
                                                  )
YAMIL RIVERA-KADER,                               )
                                                  )
                      Defendant.                  )


         This matter is before the court on the government's motion for an extension of time
in which to complete the discovery in this matter (Filing No. 435). Counsel for the
government represents that counsel for defendant Yamil Rivera-Kader (Rivera-Kader) does
not oppose the motion.       For good cause shown, the motion will be granted.         The
progression order will be modified so that the pretrial motion deadline will be extended and
the trial date will be adjusted.

         IT IS ORDERED:
         1.    The government's motion for an extension of time (Filing No. 435) is granted.
         2.    Counsel shall confer and accomplish the automatic discovery provided for
in Rule 16, Fed. R. Cr. P., on or before September 21, 2005, and shall adhere to the
continuing duty to disclose such matters pursuant to Rule 16(c), Fed. R. Cr. P.
         3.    Defendant Rivera-Kader is given to on or before October 14, 2005, in which
to file pretrial motions pursuant to the progression order (Filing No. 430).
         4.    The October 11, 2005, trial setting of this matter is canceled and will be
rescheduled following the disposition of any pretrial motions filed in accordance with this
order.
         5.    The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising

as a result of the granting of the motion, i.e., the time between September 1, 2005 and
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October 14, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel,
and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       6.     The evidentiary hearing tentatively scheduled for 9:00 a.m. on September 14,

2005, is canceled and will be rescheduled, if necessary, following the filing of any pretrial
motions in accordance with this order.
       DATED this 1st day of September, 2005.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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